              Case 1:20-cv-03229-LLS Document 26 Filed 11/04/20 Page 1 of 2
GJRIG r    'rt   Case 1:20-cv-03229-LLS Document 25 Filed 11/04/20 Page 1 of 2




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                                  MEMO ENDORSED                                                             GREGORY REILLY, ESQ.
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    November 4, 2020

    VIA ELECTRONIC FILING

    Judge Louis L. St t n
    United States Distn t Court                                                                  ·USDC SDNY
    Southern District of New York                                                                 DOCUMENT
    Daniel Patrick Moynihan                                                                      ELECTRO~ICALL Y FILED
    United States Courthouse
    500 Pearl St.                                                                              , DOC#:
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                                                                                                                                  o_
    New York, NY 10007-1312

                      Re:      Beck v. Manhattan College
                               Case No.: 1:20-cv-03229-LLS

    Dear Judge Stanton:

            We represent Defendant Manhattan College (the "College") in the above-referenced action.  ~ o . _. j
    Pursuant to Rule LA of your Honor's Individual Rules and Practices, the College writes this l e ~ ~
    to respectfully request a stay of discovery pending the Court's decision respecting the College's Q . L .
    forthcoming Rule 12(c) motion on or before November 10, 2020. Plaintiff consents to this request. ~~ ~
                                                                                                                                            5~
            Plaintiff filed her putative class action Complaint in this action on April 23, 2020 (Docket                                     { <f [ u,
    No. 1), which after service the College answered on August 3, 2020. Docket No. 20. Plaintiff                                            · \l
    amended her complaint on August 24, 2020 (Docket No. 21), which the College answered on
    September 8, 2020 (Docket No. 22). Plaintiff served discovery requests by mail on September 29,
    2020. 1 Thereafter, the College advised Plaintiffs counsel that it intends to move to dismiss the
    Complaint pursuant to Fed.R.Civ.P. 12(c) on or before November 10, 2020. The College requested
    Plaintiffs consent to our request that the Court stay all discovery pending the Court's ruling on
    the College's forthcoming Rule 12(c) motion. Plaintiff's counsel has consented to this request.

            A discovery stay is reasonable under the circumstances because the forthcoming motion to
    dismiss may eliminate the need for discovery or limit the scope of Plaintiffs legal claims and/or
    the proposed class. We also note that there are several pending class action tuition refund actions
    before this Court (and others) where discovery stays have been granted pending the adjudication
    of motions to dismiss. See, e.g., In Re Columbia University Tuition Refund Action, Civil Action
    No. 20-cv-3208 (JMF); Boykin-Smith v. New York Institute of Technology, Civil Action No. 20-
    cv-4108 (JMA); Goldberg v. Pace University, Civil Action No. 20-cv-3665 (PAE).

             We note that to date, the parties have not conferred in a Rule 26(f) conference, so Plai ntifrs discovery is
    premature (Fed.R.Civ.P. 26(d)(l)) and there is no scheduling order in place.


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                                        Attorneys At Law I A Professional Limited Liability Company
          Case 1:20-cv-03229-LLS Document 26 Filed 11/04/20 Page 2 of 2
            Case 1:20-cv-03229-LLS Document 25 Filed 11/04/20 Page 2 of 2



Judge Louis L. Stanton
November 4, 2020
Page 2



         Thank you for your consideration.

Very truly yours,

BOND, SCHOENECK & KING, PLLC




cc:      Mr. Roy Willey, IV (By ECF)
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         32 Ann St.
         Charleston, South Carolina 29403
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